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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   (BID PROTEST)
______________________________________________
                                              )
CAPITAL TECHNOLOGY GROUP, LLC,                )
                                              )
                    Plaintiff,                )
                                              )
       v.                                     )  Case No. 1:23-cv-2076
                                              )
THE UNITED STATES,                            )  Senior Judge Eric G. Bruggink
                                              )
                    Defendant.                )
______________________________________________/

                    APPLICATION FOR ACCESS TO INFORMATION UNDER
                   PROTECTIVE ORDER BY OUTSIDE OR INSIDE COUNSEL

      1. I, Samuel S. Finnerty, hereby apply for access to protected information covered by
the Protective Order issued in connection with this proceeding.

     2.   a. I, Samuel S. Finnerty, am an attorney with the law firm of PilieroMazza PLLC and
          have been retained to represent Capital Technology Group, LLC, a party to this proceeding.

          b. I [inside counsel] am in-house counsel (my title is: ___________________________) for
          ___________________________, a party to this proceeding.

     3.   I am [X] am not [] a member of the bar of the United States Court of Federal Claims (the court).

       4. My professional relationship with the party I represent in this proceeding and its personnel is
strictly one of legal counsel. I am not involved in competitive decision making as discussed in U.S. Steel
Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984), for or on behalf of the party I represent, any entity
that is an interested party to this proceeding, or any other firm that might gain a competitive advantage from
access to the information disclosed under the Protective Order. I do not provide advice or participate in
any decisions of such parties in matters involving similar or corresponding information about a competitor.
This means that I do not, for example, provide advice concerning, or participate in decisions about,
marketing or advertising strategies, product research and development, product design or competitive
structuring and composition of bids, offers, or proposals with respect to which the use of protected
information could provide a competitive advantage.

      5. I, Samuel S. Finnerty, identify here (by writing “none” or listing names and relevant
circumstances) those attorneys in my firm who, to the best of my knowledge, cannot make the
representations set forth in the preceding paragraph:
                                                      None

      6. I identify here (by writing “none” or listing names, position, and responsibilities) any member
of my immediate family who is an officer or holds a management position with an interested party in the
proceeding or with any other firm that might gain a competitive advantage from access to the information
disclosed under the Protective Order.
                                                    None
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      7. I identify here (by writing “none” or identifying the name of the forum, case number, date, and
circumstances) instances in which I have been denied admission to a protective order, had admission
revoked, or have been found to have violated a protective order issued by any administrative or judicial
tribunal:
                                                    None

      8.   I [inside counsel] have attached a detailed narrative providing the following information:

                a. my position and responsibilities as in-house counsel, including my role in providing
                advice in procurement-related matters;

                b. the person(s) to whom I report and their position(s) and responsibilities;

                c. the number of in-house counsel at the office in which I work and their involvement, if
                any, in competitive decision making and in providing advice in procurement-related
                matters.

                d. my relationship to the nearest person involved in competitive decision making (both in
                terms of physical proximity and corporate structure); and

                e. measures taken to isolate me from competitive decision making and to protect against
                the inadvertent disclosure of protected information to persons not admitted under the
                Protective Order.

     9. I have read the Protective Order issued by the court in this proceeding. I will comply in all
respects with that order and will abide by its terms and conditions in handling any protected information
produced in connection with the proceeding.

      10. I acknowledge that a violation of the terms of the Protective Order may result in the imposition
of such sanctions as may be deemed appropriate by the court and in possible civil and criminal liability.
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                                                 ***
     By my signature, I certify that, to the best of my knowledge, the representations set forth above
(including attached statements) are true and correct.


                                                       7/10/2024
Signature                                              Date Executed

Samuel S. Finnerty, Partner
Typed Name and Title

(202) 857-1000 & (202) 857-0200
Telephone & Facsimile Numbers

sfinnerty@pilieromazza.com
Email Address


                                                       7/10/2024
Signature of Attorney of Record                        Date Executed

Eric A. Valle, Associate
Typed Name and Title

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